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                     UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA, )                   CRIMINAL ACTION NO.
                          )
         Plaintiff,       )                   1:21-CR-00119-CJN
                          )
v.                        )
                          )
GARRET MILLER,            )
                          )
                          )
         Defendant.       )
                          )

   DEFENDANT’S AMENDED UNOPPOSED MOTION TO CONTINUE
                 EVIDENTIARY HEARING

      Defendant Garret Miller hereby moves this Court to continue the evidentiary

hearing currently set in this matter for September 16, 2021, until on or after October

12, 2021. In support of this motion, Mr. Miller sets forth the following facts and

argument.

      1. An evidentiary hearing has been set in this matter for September 16, 2021.

      2. The government has extended Mr. Miller a plea bargain offer that is

conditioned on him dismissing his pending motions and waiving the evidentiary

hearing.

      3. As a result of Undersigned Counsel’s recent travel schedule and Mr. Miller’s

incarceration, it has been difficult to arrange a telephone call with Mr. Miller to

discuss the government’s offer and impossible to arrange to visit Mr. Miller in
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person.

       4. Undersigned Counsel is planning to visit Mr. Miller on October 11, 2021,

but is unable to do so before that time.

       5. While it is doubtful that Mr. Miller will accept the government’s offer,

Undersigned Counsel is obligated to discuss the offer with Mr. Miller and is not able

to fully do so until October 11, 2021.

       6. This motion is unopposed.

       WHEREFORE, Defendant Garret Miller respectfully requests this Court to

continue the evidentiary hearing currently set in this matter for September 16, 2021,

until on or after October 12, 2021.1


                                                  Respectfully submitted,

                                                  /s/ F. Clinton Broden
                                                  F. Clinton Broden
                                                  TX Bar No. 24001495
                                                  Broden & Mickelsen
                                                  2600 State Street
                                                  Dallas, Texas 75204
                                                  214-720-9552
                                                  214-720-9594 (facsimile)
                                                  clint@texascrimlaw.com

                                                  Attorney for Defendant
                                                  Garret Miller

       1
         The government and defense have reviewed their schedules and would be available on
the following dates in October after October 11, 2021: October 14 (morning), 18, 19, 22
(morning).
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                        CERTIFICATE OF SERVICE

      I, F. Clinton Broden, certify that, on September 9, 2021 I caused a copy of

the above document to be served by electronic means on:

      Elizabeth C. Kelley
      United States Attorney's Office
      555 4th Street, N.W.
      Washington, DC 20350


                                                   /s/ F. Clinton Broden
                                                   F. Clinton Broden
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                    UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA, )              CRIMINAL ACTION NO.
                          )
         Plaintiff,       )              1:21-CR-00119-CJN
                          )
v.                        )
                          )
GARRET MILLER,            )
                          )
                          )
         Defendant.       )
                          )

                                  ORDER
     Upon consideration of Defendant’s Amended Unopposed Motion to Continue

Evidentiary Hearing, said motion is this _____ day of September, GRANTED.

     ORDERED the evidentiary hearing in this matter is reset to _____________,

2021 at ________.




                                         CARL J. NICHOLS
                                         United States District Judge
